        Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 1 of 10




                                   STATEMENT OF FACTS

        Your affiant,              , is a Task Force Officer (“TFO”) with the Federal Bureau of
Investigation (“FBI”) assigned to the Joint Terrorism Task Force (“JTTF”), Domestic Terrorism
and Weapons of Mass Destruction Squad in Austin, Texas. During my assignment with the JTTF,
I have conducted investigations regarding material support of terrorism, weapons violations,
explosives violations, as well as racially motivated or anti-government/anti-authority violent
extremism. Prior to assignment to the FBI, I was employed by the Austin Police Department
(“APD”) as a Detective for over thirteen (13) years. As a Detective, I investigated vehicular
homicides, crashes and sexual assaults, among other crimes. Through my employment with the
FBI and APD, I have gained knowledge in the use of various investigative techniques, including,
but not limited to, conducting physical surveillance, conducting interviews, obtaining information
through administrative and grand jury subpoenas, preparing and executing state and federal search
warrants, preparing reports, and reviewing electronic evidence.

       Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a TFO, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of violations of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
         Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 2 of 10




and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              Identification of Dustin WILLIAMS

        Since January 6, 2021, the FBI has been identifying and investigating those who were
inside of the U.S. Capitol building and/or on the U.S. Capitol grounds without authority. On or
about January 15, 2021, an individual submitted a tip to the Bellingham Resident Agency of the
FBI indicating that DUSTIN RAY WILLIAMS (“WILLIAMS”) posted a Facebook video on or
about January 7, 2021, in which stated that he had participated in the events at the U.S. Capitol on
January 6, 2021. The tipster provided the FBI with the video posted by WILLIAMS, described in
further detail below:
        Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 3 of 10




      Image 1: Still from Facebook video WILLIAMS posted on or about January 7, 2021.

        Accordingly, in January of 2021, the FBI began an investigation on WILLIAMS which led
to the identification of a Facebook social media account for WILLIAMS. Investigators reviewed
WILLIAMS’s publicly available social media profile for evidence that WILLIAMS unlawfully
entered the U.S. Capitol grounds on January 6, 2021. The Facebook Display Name for the account
was “Dustin Williams” and the User ID was                        0276. Investigators obtained and
reviewed the video posted to WILLIAMS’s account posted on January 7, 2021, titled, “The
TRUTH about the DC Capitol Riots from a first hand witness[.]” During the video WILLIAMS
can be seen riding in the back of a vehicle, recording himself discussing his attendance at the pro-
Trump rally on January 6, 2021. WILLIAMS describes himself as a U.S. Army veteran who spent
three years in the infantry, participated in Operation New Dawn, and served one tour in Iraq.
Investigators obtained WILLIAM’s U.S. Army records that showed he served in the Army for
over two years. WILLIAMS stated he participated in the rally but did not go inside the US Capitol
building or engage in any vandalism. WILLIAMS stated that initially the rally was very peaceful
and patriotic. However, he said that Antifa was present and were dressed as pro-Trump protesters.
WILLIAMS stated the riots were a sophisticated, orchestrated infiltration conducted by Antifa and
funded by the “Swamp.” WILLIAMS stated this was not the first “protest” that he attended in
        Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 4 of 10




D.C., or the first time he had had “run-ins” with D.C. riot police. However, he said that this was
the first time that he was pepper sprayed and gassed. He also stated that flash bangs were thrown
into the crowd. WILLIAMS stated that he was on the steps with other protesters singing, and that
he and his group worked their way up to the second level of the US Capitol building. While on the
second level, he saw other members of the crowd breaking windows. WILLIAMS stated he was
wearing a bright orange shirt and can likely be seen on video footage pulling the guys from the
windows to stop them. He said that he told them that they had not come there to vandalize and
break in the building. However, the individuals did not appear to care, and WILLIAMS stated that
they did not appear to be pro-Trump protesters but rather Antifa members. WILLIAMS stated he
also saw people pulling out sledgehammers and batons.

         On September 7, 2021, FBI investigators interviewed the owner of a concrete business
located in Fort Collins, Colorado. The owner explained to the FBI that he contacted WILLIAMS
a couple years ago for assistance with a custom concrete fixture. WILLIAMS and two of his crew
members traveled to Colorado to assist and train the owner on carving a specific concrete fixture.
The owner gave WILLIAMS a bright orange shirt with the name of the owner’s company on the
back as a gift of appreciation for assisting with the job. The shirt also contained the owner’s
business telephone number, which the owner believed had led to his receiving harassing and
threatening phone calls since January 6, 2021. The owner learned of WILLIAMS’s involvement
in the Capitol Riots in real time through WILLIAMS’s Facebook account which contained a
livestream of WILLIAMS filmed at the US Capitol on January 6, 2021. In the Facebook live
stream, the owner heard WILLIAMS complaining about poor cell phone reception and that
WILLIAMS was trying to stop people from tearing stuff up at the US Capitol. The owner verified
that it was WILLIAMS at the US Capitol on January 6, 2021, wearing his company’s orange shirt.
The owner had not seen WILLIAMS in person since they worked together in Colorado two years
earlier.

       As a part of this investigation, I have reviewed additional videos from WILLIAMS’s
Facebook account. In one video, WILLIAMS addressed viewers while on the West Front of the
U.S. Capitol Building. In the video, WILLIAMS is wearing a hat that reads, “SWISSMEX” and
an orange shirt.
         Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 5 of 10




   Image 2: Still from Facebook video showing WILLIAMS on West Front of the U.S. Capitol
                                 building on January 6, 2021.

       In another video from WILLIAMS Facebook account, WILLIAMS addressed his viewers
while attempting to find a ride back to his hotel after having been at the U.S. Capitol. In that video,
WILLIAMS is wearing the same hat he wore while on the U.S. Capitol grounds and in the video
he posted to Facebook on January 7, 2021.
        Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 6 of 10




 Image 3: Still from Facebook video showing WILLIAMS after leaving the U.S. Capitol grounds
                                     on January 6, 2021.

In that same video, WILLIAMS stated, “We did get into it with the cops, just a little bit.” He also
stated that he “took a lot of footage here, so I’ll be posting some videos that I took.”

                      WILLIAMS’S CONDUCT ON JANUARY 6, 2021

         Based on a review of video footage, WILLIAMS entered into and remained inside the
restricted perimeter of the U.S. Capitol grounds beginning at least 1:03 p.m. on January 6, 2021.
At that time, a line of U.S. Capitol Police Officers (wearing jackets identifying themselves as law
enforcement and carrying riot helmets and riot shields) stood on the west side of the U.S. Capitol
building. WILLIAMS walked through the crowd gathered on the West Front and approached the
police line defending the U.S. Capitol building. WILLIAMS, wearing the same hat and distinct
bright orange shirt bearing the name of the concrete business located in Fort Collins, Colorado,
described above and shown in the images above, stood directly in front of the U.S. Capitol Police
         Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 7 of 10




officers and shoved and pushed them, initially by placing his hands on their shields. Video captures
approximately 25 seconds of WILLIAMS’s aggressive contact with the law enforcement officers.
The video also showed WILIAMS getting sprayed with pepper spray by a police officer,
continuing to push and shove officers, and grabbing the arm of an officer.




  Image 4: Image obtained from open source videos showing the defendant confronting police
         officers on January 6, 2021, on the West Front of the U.S. Capitol Building.

       Additional video extracted from a cell phone shows a person I believe to be WILLIAMS,
wearing the same bright orange shirt, screaming at police officers while still on on the U.S. Capitol
grounds on January 6, 2021. In the recorded video, WILLIAMS appears to say, “You shot an
unarmed person,” and “There’s a lot more of us coming motherfuckers,” shortly after the mob
clashed with the line of police officers.
        Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 8 of 10




    Image 5: Image obtained from cell phone video showing WILLIAMS within the restricted
              perimeter on the U.S. Captiol Building grounds on January 6, 2021.

        Based on a review of surveillance video, it appears that WILLIAMS remained near the
West Front for over two hours. Additional images of WILLIAMS extracted from video obtained
from Reddit users showed that WILLIAMS made his way to the Lower West Terrace of the U.S.
Capitol as well, still wearing the same bright orange shirt with the the name of a concrete business
on the back and a black and gray baseball hat. In video from the Lower West Terrace, WILLIAMS
confronts other protesters striking at a window with metal objects in an attempt to break the glass.
Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 9 of 10
Case 1:24-cr-00209-BAH Document 1-1 Filed 07/28/23 Page 10 of 10




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